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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

Juan Jose Haro                             §
                                           §
versus                                     §             Case Number: 4:24−cv−04466
                                           §
Equisolar, Inc., et al.                    §

                 NOTICE REGARDING CONSENT
           TO JURISDICTION OF A MAGISTRATE JUDGE
      This Notice is to remind Parties of their right to consent to the jurisdiction of a
Magistrate Judge to preside over all proceedings, including trials, and enter a final
judgment in the same manner as a District Judge. Consent to the jurisdiction of
Magistrate Judges improves the efficiency of the courts. The Judges of this Court
encourage parties to consent to the jurisdiction of Magistrate Judges pursuant to 28
U.S.C. § 636(c).
       Upon all parties' consent, the case will be transferred to the Magistrate Judge
assigned to this case who will assume all the duties and powers of the District Judge,
including the power to preside over jury trials and enter final judgment.
        All parties are free to consent or withhold consent to Magistrate Judge
jurisdiction without any adverse consequences.
      Absent the parties' mutual consent to Magistrate Judge jurisdiction, District
Judges may still refer any or all pretrial matters to Magistrate Judges pursuant to 28
U.S.C. § 636(b).
        If all parties choose to consent, please execute the attached Consent form, and
file it with the Clerk of Court. If all parties do not consent, no further action is
necessary.


Date: November 15, 2024
                                                                 Nathan Ochsner, Clerk
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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

___________________________,                §
                                            §
                      Plaintiff(s),         §
                                            §
v.                                          §        Civil Action No. ______________
                                            §
___________________________,                §
                                            §
                    Defendant(s).           §

         CONSENT TO PROCEED BEFORE A MAGISTRATE JUDGE

    All parties to this case waive their right to proceed before a United States District
Judge and consent to have a United States Magistrate Judge preside over all further
proceedings, including the trial and entry of final judgment pursuant to 28 U.S.C. §
636(c).




              ORDER OF TRANSFER TO MAGISTRATE JUDGE

               This case is transferred to United States Magistrate Judge
               ______________________________________________
             to conduct all further proceedings, including final judgment.



__________________                            _________________________________
Date                                          United States District Judge
